
23 N.Y.2d 914 (1969)
David Fox &amp; Sons, Inc., et al., Respondents-Appellants,
v.
King Poultry Co., Inc., et al., Appellants-Respondents.
Court of Appeals of the State of New York.
Argued January 6, 1969.
Decided January 23, 1969.
Irwin N. Wilpon and Benjamin L. Lasky for appellants-respondents.
Monroe J. Winsten for respondents-appellants.
Concur: Chief Judge FULD and Judges BURKE, SCILEPPI, BERGAN, KEATING and JASEN. Taking no part: Judge BREITEL.
Order modified, without costs, by directing that judgment be entered after damages have been computed in accordance with the rule laid down in the dissenting opinion at the Appellate Division and, as so modified, affirmed.
